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 1                                                 THE HONORABLE MARSHA J. PECHMAN

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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE

10    THAN ORN, individually, THALISA ORN,
      individually, J.O. and C.O., by their
11    Guardian, CLARISSE ORN,

12                                   Plaintiffs,        CASE NO. 3:13-cv-05974-MJP

13          vs.                                         MOTION, STIPULATION, AND
                                                        ORDER TO TRANSFER EVIDENCE
14    CITY OF TACOMA, a municipal
      corporation; and KRISTOPHER CLARK, in
15    his individual capacity,

16                                 Defendants.

17

18
            COMES NOW Plaintiffs, by and through their undersigned attorneys of record, hereby
19
     move the Court for an order authorizing the transfer into their possession of all evidence—
20
     including, but not limited to, physical evidence—retained by Pierce County Superior Court
21
     from the proceedings in State of Washington v. Than Serthan Orn, No. 11-1-04711-5.
22
            This action arises from the shooting of Than Orn. Following the shooting, charges were
23
     filed against Orn relating to the shooting and a criminal trial was held in the Pierce County
24
     Superior Court in Tacoma, WA, under cause number 11-1-04711-5. Pierce County Superior
25
     Court retains the evidence, including physical evidence, presented during those trial
26
     proceedings, evidence which Plaintiffs need to prepare for trial in the above captioned matter.
      MOTION, STIPULATION, AND ORDER GRANTING
      PLAINTIFF’S REQUEST TO TRANSFER
      EVIDENCE

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 1
            Under normal circumstances, Plaintiffs’ attorneys would review and make copies where
 2
     possible of this evidence at the Pierce County Courthouse in Tacoma, but due to restrictions
 3
     enacted at the courthouse to limit the spread of the COVID-19 pandemic, this is no longer
 4
     possible. After discussions with the Pierce County Superior Court, it was agreed that it would
 5
     transfer the evidence, including physical evidence incapable of being copied, to Plaintiffs’
 6
     attorneys of record for use in the trial of the above captioned matter if authorized by court order.
 7
     Plaintiffs, after conferring with Defendants who agreed to stipulate to the transfer of evidence
 8
     of evidence in the custody of the Pierce County Superior Court only, therefore move the Court
 9
     for an order authorizing the transfer of this evidence, including physical evidence, for the
10
     parties’ possible use in the civil trial of this matter, following which the evidence will be
11
     returned to the custody of the Pierce County Superior Court.
12

13
            Dated this 22nd day of September, 2020.
14

15
                                                    PFAU COCHRAN VERTETIS AMALA PLLC
16

17
                                                    By: /s/ Darrell L. Cochran
18                                                  Darrell L. Cochran, WSBA No. 22851
                                                    darrell@pcvalaw.com
19                                                  Attorneys for Plaintiffs
20

21                                                  COCHRAN DOUGLAS, PLLC

22
                                                    By: /s/ Loren A. Cochran ____________
                                                    Loren A. Cochran, WSBA No. 32773
23                                                  loren@cochrandouglas.com
                                                    Attorneys for Plaintiffs
24

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 1

 2                                         THE LAW OFFICE OF THOMAS A.
                                           BALERUD
 3
                                           By: /s/ Thomas A. Balerud _____________
 4
                                           Thomas A. Balerud, WSBA No. 19539
 5                                         tbalerud@balerudlaw.com
                                           Attorney for Plaintiff
 6

 7                                         TACOMA CITY ATTORNEYS OFFICE
 8                                         By: /s/ Jean P. Homan _____________
                                           Jean P. Homan, WSBA No. 27084
 9
                                           jhoman@cityoftacoma.org
10                                         Attorney for Defendants

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 1                                           STIPULATION

 2
            Plaintiffs and Defendants hereby stipulate, by and through their undersigned attorneys,
 3
     that the Pierce County Superior Court may transfer all evidence, including physical evidence,
 4
     presented during the trial proceedings of State of Washington v. Than Serthan Orn, No. 11-1-
 5
     04711-5, into Plaintiffs’ counsel’s possession for use in the trial of the above captioned matter.
 6
            By accepting custody of these exhibits and evidence, Plaintiffs agree to provide color
 7
     copies of any exhibits capable of being copied to the Defendants within five (5) days of receipt
 8
     of such exhibits. Further, for any evidence not capable of being copied, Plaintiffs agree to
 9
     maintain a chain of custody and to make all such evidence available for inspection by the
10
     Defendants (including defense experts) within five (5) days of any request for inspection.
11
     Finally, for any evidence not capable of being copied, Plaintiffs agree to make such evidence
12
     available to the Defendants for use at trial, on the date and at a time of Defendants’ choosing,
13
     even if that means transferring physical custody of the evidence to the Defendants for such use
14
     a trial. Given that the civil trial in this matter will be conducted by Zoom or some other remote
15
     platform, the parties hereto agree to work cooperatively to ensure equal and adequate access to
16
     the exhibits which are the subject of the instant motion.
17
            The parties hereto also stipulate and agree that nothing herein shall be construed as an
18
     agreement that any the exhibits which are the subject of this order are admissible or may be
19
     used in the civil trial pending in the United States District Court, Cause No. 13:3-dv-05974
20
     MJP, and that all objections to admissibility are hereby expressly reserved.
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 1                                             ORDER

 2          THIS MATTER, having come on the Motion, Stipulation, and Order to Transfer

 3   Evidence, and the Court finding the motion to be in order; NOW THEREFORE,

 4          IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Plaintiffs’ motion is

 5   GRANTED. Pierce County Superior Court shall transfer all evidence, including physical

 6   evidence, in its possession from the trial proceedings in State of Washington v. Than Serthan

 7   Orn, No. 11-1-04711-5 to Plaintiffs’ attorneys of record, subject to the terms and conditions

 8   set forth in the Stipulation above.

 9

10          Dated this _25th_ day of September, 2020.

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                                                 A
                                                 Marsha J. Pechman
14                                               United States Senior District Judge
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 1                                  CERTIFICATE OF SERVICE

 2
            I, Sarah Awes, hereby declare under penalty of perjury under the laws of the State of
 3
     Washington that I am employed at Pfau Cochran Vertetis Amala PLLC and that on today’s
 4
     date, I served the foregoing via the Court’s Electronic Service System by directing delivery to
 5
     the following individuals:
 6

 7          Jean P. Homan
            Tacoma City Attorney’s Office
 8          747 Market Street, Suite 1120
            Tacoma, WA 98402
 9          jhoman@ci.tacoma.wa.us
            Attorney for Defendants
10
            Loren A. Cochran
11          Cochran Douglas, PLLC
            4826 Tacoma Mall Blvd, Ste. C
12          Tacoma, WA 98409
            Attorney for Plaintiffs
13
            Thomas A. Balerud
14          The Law Office of Thomas A. Balerud
            417 S. G Street
15
            Tacoma, Washington 98405
16          Attorneys for Plaintiffs

17
            DATED this 22nd day of September, 2020.
18

19
                                                         _/s/ Sarah Awes____________________
20
                                                         Sarah Awes
21                                                       Legal Assistant

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